
374 U.S. 105 (1963)
HUGGINS
v.
RAINES, WARDEN.
No. 251, Misc.
Supreme Court of United States.
Decided June 10, 1963.
ON PETITION FOR WRIT OF CERTIORARI TO THE COURT OF CRIMINAL APPEALS OF OKLAHOMA.
Petitioner pro se.
Mac Q. Williamson, Attorney General of Oklahoma, and Lewis A. Wallace and Hugh H. Collum, Assistant Attorneys General, for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case is remanded to the Court of Criminal Appeals of Oklahoma for reconsideration in light of Gideon v. Wainwright, 372 U. S. 335, and Carnley v. Cochran, 369 U. S. 506.
